Case 1:17-cv-00077-GLR Document 42 Filed 11/17/17 Page1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
BALTIMORE DIVISION

DANIEL ZACHARY JOHNSON,
Plaintiff,
Civil Action No. |:17-cv-00077-GLR

V.

FAXONME, LLC D/B/A RENTER
RESUME, et al.

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Defendants.
DISMISSAL ORDER

THIS DAY CAME the Plaintiff, DANIEL ZACHARY JOHNSON, and the Defendant,
OMNI DATA LLC, d/b/a/ TRADE HOUSE DATA, by counsel, and hereby move the Court to
dismiss with prejudice all claims against Defendant OMNI DATA LLC, d/b/a/ TRADE HOUSE
DATA in the above-styled action.

UPON CONSIDERATION of the representations of counsel and for other good cause
shown, it is, hereby ORDERED, ADJUDGED, and DECREED that the Complaint against

Defendant OMNI DATA LLC, d/b/a/ TRADE HOUSE DATA is DISMISSED with prejudice.

The Clerk is DIRECTED to CLOSE this case.

Entered this } day of NOVEMBER, 2017

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George L. Russell, Ill
United States District Judge

 
